      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 1 of 32




               THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

MARK WALTERS                            )
                                        )
     Plaintiff,                         )
                                        )
v.                                            Civil Action No. 1:23-cv-03122-
                                        )
                                        )     MLB
OpenAI, L.L.C.,
                                        )
     Defendant.                         )
                                        )

               MEMORANDUM OF LAW IN SUPPORT OF
              DEFENDANT OPENAI’S MOTION TO DISMISS
          Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 2 of 32




                                             TABLE OF CONTENTS


I.    INTRODUCTION ................................................................................................................... 1

II. FACTUAL BACKGROUND .............................................................................4

III. ARGUMENT.....................................................................................................11

     A. This Court Should Dismiss the Action for Lack of Jurisdiction ...................11

     B. This Court Should Dismiss the Action for Failure to State a Claim .............13

       1. Riehl Did Not and Could Not Read the Statements as Defamatory. ..........14

         a.       Riehl did not read the statements as defamatory. .................................14

         b.       The statements could not reasonably be read as defamatory................17

       2. OpenAI Did Not Publish the Statements as a Matter of Law. ....................19

       3. Plaintiff Did Not Adequately Plead Actual Malice.....................................21

IV. CONCLUSION .................................................................................................25




                                                                  ii
          Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 3 of 32




                                        TABLE OF AUTHORITIES

                                                                                                                   Page(s)

Cases

30 River Ct. E. Urb. Renewal Co. v. Capograsso,
   383 N.J. Super. 470 (App. Div. 2006) ................................................................ 16

Almánzar v. Kebe,
   No. 1:19- CV-01301-WMR, 2021 WL 5027798 (N.D. Ga. July 8,
   2021) ................................................................................................................... 22

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ............................................................................................ 24

Atlanta Multispecialty v. Dekalb Medical,
   615 S.E.2d 166 (Ga. Ct. App. 2005)................................................................... 19

Biro v. Conde Nast,
   807 F.3d 541 (2d Cir. 2015) .............................................................................. 25

Bollea v. World Championship Wrestling, Inc.,
   610 S.E.2d 92 (Ga. Ct. App. 2005) ..................................................... 3, 15, 17-18

Cannon v. Peck,
  36 F.4th 547 (4th Cir. 2022) ............................................................................... 24

Celle v. Filipino Reporter Enterprises, Inc.,
   209 F.3d 163 (2nd Cir. 2000) ............................................................................. 22

Comet v. Chisca Grp., LLC,
  No. 1:21-03216-SCJ, 2022 WL 18938094 (N.D. Ga. Nov. 8, 2022) ................. 12

Cooper Tire & Rubber Co. v. McCall,
  863 S.E.2d 81 (2021) .......................................................................................... 13

Daimler AG v. Bauman,
  571 U.S. 117 (2014) ............................................................................................ 12




                                                             iii
         Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 4 of 32




Empire S. Realty Advisors, LLC v. Younan,
  883 S.E.2d 397 (Ga. Ct. App. 2023)................................................................... 17

Fin. Sec. Assur., Inc. v. Stephens, Inc.,
   500 F.3d 1276 (11th Cir. 2007) .......................................................................... 13

Hodges v. Tomberlin,
  319 S.E.2d 11 (Ga. Ct. App. 1984) ..................................................................... 15

Hoffman-Pugh v. Ramsey,
  312 F.3d 1222 (11th Cir. 2002) ............................................................................ 6

Horsley v. Rivera,
  292 F.3d 695 (11th Cir. 2002) ............................................................................ 17

Keenan v. Int’l Ass’n of Machinists & Aerospace Workers,
  632 F. Supp. 2d 63 (D. Me. 2009) ...................................................................... 24

Knievel v. ESPN,
  393 F.3d 1068 (9th Cir. 2005) .............................................................................. 6

Krass v. Obstacle Racing Media, LLC,
  No. 1:19-CV-5785-JPB, 2023 WL 2587791 (N.D. Ga. Mar. 21,
  2023) .............................................................................................................15, 22

Kurtz v. Williams,
  371 S.E.2d 878 (Ga. Ct. App. 1988)................................................................... 20

Mathis v. Cannon,
  573 S.E.2d 376 (Ga. 2002) ................................................................................. 22

McCall v. Zotos,
  No. 22-11725, 2023 WL 3946827 (11th Cir. June 12, 2023) ............................ 12

McLaughlin v. Rosanio, Bailets & Talamo, Inc.,
  331 N.J. Super. 303, 751 A.2d 1066 (App. Div. 2000) ...................................... 16

Michel v. NYP Holdings, Inc.,
  816 F.3d 686 (11th Cir. 2016) ................................................................23, 24, 25



                                                            iv
          Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 5 of 32




Murray v. ILG Techs., LLC,
  798 F. App’x 486 (11th Cir. 2020) ...........................................................3, 20, 21

New York Times Co. v. Sullivan,
  376 U.S. 254 (1964) ............................................................................................ 23

Pohl v. MH Sub I, LLC,
  332 F.R.D. 713 (N.D. Fla. 2019) .......................................................................... 4

Resolute Forest Prod., Inc. v. Greenpeace Int’l,
   No. 17-CV-02824-JST, 2019 WL 281370 (N.D. Cal. Jan. 22,
   2019) ................................................................................................................... 24

Sigmon v. Womack,
   279 S.E.2d 254 (Ga. Ct. App. 1981)............................................................... 3, 14

Techjet Innovations Corp. v. Benjelloun,
   203 F. Supp. 3d 1219 (N.D. Ga. 2016) ............................................................... 11

Turner v. Wells,
   879 F.3d 1254 (11th Cir. 2018) ................................................................4, 22, 24

Walden v. Fiore,
  571 U.S. 277 (2014) ............................................................................................ 12

Statutes

O.C.G.A. § 51-5-1(b) ............................................................................................... 19

Other Authorities

Federal Rule of Civil Procedure 12(b)(2) ............................................................... 12

Federal Rule of Civil Procedure 12(b)(6) ............................................................... 13

Federal Rule of Evidence 201 .................................................................................... 4

Restatement (Second) of Torts § 563 (1977) ........................................................... 15




                                                              v
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 6 of 32




I.    INTRODUCTION

      OpenAI is a research and development company dedicated to safe and

transparent Artificial Intelligence (“AI”). While its technology has already been

used by millions of people around the world, with stunning potential to solve

longstanding problems, OpenAI also has been consistently transparent about the

limitations and responsible use of this emerging technology.

      This case involves a public figure and nationally syndicated talk show host,

Mark Walters, who claims that OpenAI’s ChatGPT service defamed him to a

reporter. At the threshold, this Court lacks personal jurisdiction over Mr. Walters’

lawsuit against OpenAI, which was organized in Delaware and has its principal place

of business in California, and therefore is not subject to general jurisdiction in

Georgia. The Complaint is not based on conduct arising out of OpenAI’s contacts

with Georgia, meaning no specific jurisdiction exists either. See Bristol-Myers

Squibb Co. v. Superior Ct. of California, San Francisco Cnty., 582 U.S. 255, 262

(2017).

      Plaintiff also fails to establish the basic elements of a defamation claim.

Plaintiff claims that ChatGPT defamed him when Fred Riehl—a reporter who

appears to know Walters—used ChatGPT as a tool for legal research to summarize

a legal complaint. Walters claims that ChatGPT’s response to Riehl contained false


                                         1
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 7 of 32




information about Walters and the complaint.       But nothing about ChatGPT’s

interaction with Riehl can be characterized as “defamation” under Georgia law.

      First, Riehl did not and could not reasonably read ChatGPT’s output as

defamatory. By its very nature, AI-generated content is probabilistic and not always

factual, and there is near universal consensus that responsible use of AI includes

fact-checking prompted outputs before using or sharing them. OpenAI clearly and

consistently conveys these limitations to its users. Immediately below the text box

where users enter prompts, OpenAI warns: “ChatGPT may produce inaccurate

information about people, places, or facts.” Before using ChatGPT, users agree that

ChatGPT is a tool to generate “draft language,” and that they must verify, revise,

and “take ultimate responsibility for the content being published.” And upon

logging into ChatGPT, users are again warned “the system may occasionally

generate misleading or incorrect information and produce offensive content. It is

not intended to give advice.”

      The full transcript of Riehl’s interaction with ChatGPT, which Plaintiff did

not disclose to this Court, reveals that when Riehl asked ChatGPT to summarize a

legal complaint, it immediately responded that it could not access the complaint and

that Riehl needed to consult a lawyer for “accurate and reliable information” about

a legal matter. Riehl then continued to push ChatGPT, disregarding its repeated


                                         2
       Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 8 of 32




warnings. The full transcript also reveals that Riehl never viewed ChatGPT’s output

as an assertion of fact about Walters. Riehl told ChatGPT that its responses were

“complet[e]ly … false” and “ha[d] nothing to do with the content of” the complaint.

There can be no defamation where no one “understood [the statement] in a libelous

sense,” Sigmon v. Womack, 279 S.E.2d 254, 258 (Ga. Ct. App. 1981), nor where the

statement “could not be reasonably understood as describing actual facts,” Bollea v.

World Championship Wrestling, Inc., 610 S.E.2d 92, 96 (Ga. Ct. App. 2005).

Plaintiff’s claim fails both tests.

       Even more fundamentally, Riehl’s use of ChatGPT did not cause a

“publication” of the outputs. OpenAI’s Terms of Use make clear that ChatGPT is a

tool that assists the user in the writing or creation of draft content and that the user

owns the content they generate with ChatGPT. Riehl agreed to abide by these Terms

of Use, including the requirement that users “verify” and “take ultimate

responsibility for the content being published.” As a matter of law, this creation of

draft content for the user’s internal benefit is not “publication.” See, e.g., Murray v.

ILG Techs., LLC, 798 F. App’x 486, 493 (11th Cir. 2020) (software tools do not

“publish” to their users).

       Finally, OpenAI did not make statements about a public figure with “actual

malice,” because OpenAI had no knowledge of the specific statements generated by


                                           3
       Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 9 of 32




Riehl’s prompts at all. See Turner v. Wells, 879 F.3d 1254, 1272 (11th Cir. 2018)

(requiring subjective malice as to specific statements at issue).

      The facts before the Court in the Complaint plainly demonstrate that Mr.

Walters cannot establish the basic elements of a defamation claim. The case should

be dismissed with prejudice.

II.   FACTUAL BACKGROUND

      Plaintiff Mark Walters is a nationally syndicated talk radio personality,

author, columnist and commentator. His show is heard in hundreds of cities on over

200 radio stations.1 Third party Fred Riehl is a journalist and the Editor-in-Chief of

a news and advocacy website.2 Walters has published more than fifty articles on

Riehl’s website.3

      OpenAI is an AI research and deployment company. Its mission is to ensure


1
  Exhibit 1, Mark Walters (2023) LinkedIn Profile,
https://www.linkedin.com/in/mark-walters-4a197222/ (last visited Jul. 21, 2023).
Pursuant to Federal Rule of Evidence 201, the websites referenced herein are
properly before this Court on a motion to dismiss. Courts routinely take judicial
notice of publicly available websites, including on “web pages available through the
WayBack Machine.” See Pohl v. MH Sub I, LLC, 332 F.R.D. 713, 716 (N.D. Fla.
2019) (collecting cases). OpenAI has attached screenshots for the Court’s
convenience.
2
  Exhibit 2, Fredy Riehl (2023) LinkedIn Profile,
https://www.linkedin.com/in/fredyriehl/ (last visited Jul. 21, 2023).
3
  Exhibit 3, About Mark Walters, AMMOLAND,
https://www.ammoland.com/author/markwalters/#axzz873t9Ed1J (last visited Jul.
21, 2023).

                                          4
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 10 of 32




that artificial general intelligence benefits all of humanity.4 Large language models

(“LLMs”) are AI tools that learn patterns and structures in language to predict

responses to a person’s request. LLMs such as OpenAI’s GPT-3 and GPT-4, which

power ChatGPT, are used by millions of people around the world to explore

interactions with AI and language, including organizing information, writing first

drafts of emails, and learning and translating different languages.5

      But OpenAI has always been clear about the limitations of this new and

developing technology and the conditions for responsible use. In its Terms of Use,

OpenAI explains:

      Given the probabilistic nature of machine learning, use of our Services
      may in some situations result in incorrect Output that does not
      accurately reflect real people, places, or facts. You should evaluate the
      accuracy of any Output as appropriate for your use case, including by
      using human review of the Output.6

      Users who wish to publish model outputs in research “are subject to our

Sharing & Publication Policy,” which requires that “it is a human who must take



4
  Exhibit 4, About, https://openai.com/about (last visited Jul. 21, 2023).
5
  See Francesca Paris and Larry Buchanan, 35 Ways People Are Using AI Right Now,
N.Y. Times (Apr. 14, 2023),
https://www.nytimes.com/interactive/2023/04/14/upshot/up-ai-uses.html.
6
   Terms of Use, https://openai.com/policies/terms-of-use (last accessed Jul. 21,
2023). The Terms of Use “include our Service Terms, Sharing & Publication Policy,
Usage Policies . . .” A copy of these Terms of Use as they existed at the time of the
alleged defamation is attached hereto as Exhibit 5.

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      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 11 of 32




ultimate responsibility for the content being published.”7 Under the Terms, users

who publish model outputs must provide notice along the following suggested lines:

      The author generated this text in part with GPT-3, OpenAI’s large-scale
      language-generation model. Upon generating draft language, the author
      reviewed, edited, and revised the language to their own liking and takes
      ultimate responsibility for the content of this publication.8

The Terms further warn that “OpenAI’s models are not fine-tuned to provide legal

advice. You should not rely on our models as a sole source of legal advice.”9

      Riehl and Walters both agreed to these Terms as a condition of using

ChatGPT.10

      Beyond the Terms of Use, OpenAI provided several other warnings as well.


7
   Exhibit 5, Sharing & Publication Policy, https://openai.com/policies/sharing-
publication-policy (last accessed Jul. 21, 2023).
8
  Id.
9
  Exhibit 5, Usage Policies, https://openai.com/policies/usage-policies (last accessed
Jul. 21, 2023).
10
    See Complaint at ¶ 8 (Riehl is a “subscriber” to ChatGPT); Exhibit 6, Riehl
ChatGPT History; Exhibit 7, Walters Chat History (demonstrating Walters’ use of
ChatGPT concerning allegations in Complaint); Exhibit 8, Business Records
Affidavit authenticating Exhibits 6 and 7; see also Exhibit 5, Terms of Use (“By
using our Services, you agree to these Terms”). The full relevant chat transcripts
generated by Riehl on May 3 and 4 and Walters on May 4 are “properly before the
court on the motion to dismiss because [Walters] referred to it in [his] complaint and
it is central to [his] claims.” Hoffman-Pugh v. Ramsey, 312 F.3d 1222, 1225 (11th
Cir. 2002) (entire book was incorporated by reference and should be considered on
motion to dismiss when statement in book is defamatory); see also Knievel v. ESPN,
393 F.3d 1068, 1076 (9th Cir. 2005) (webpage in which defamatory statement
appeared incorporated by reference as “a computer user necessarily views web pages
in the context of links through which the user accessed those pages”).

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      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 12 of 32




Any user logging into the site must click on the following warning to enter:




                                      11



      On the home screen, after the user has clicked on the warning above, the

following additional warnings appear:




And immediately below the text box for chatting with ChatGPT, OpenAI included

the following additional warning, stating “Free Research Preview. ChatGPT may




11
   All screenshots presented appear as they did on May 3, 2023, at the time of the
alleged defamation. See also https://chat.openai.com (last accessed Jul. 21, 2023).

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        Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 13 of 32




produce inaccurate information about people, places, or facts”:




        On May 3, Riehl asked ChatGPT to follow a URL and summarize the contents

of a legal complaint:12

        RIEHL:       Can you read this and in a bulleted list summarize the different
                     accusations    or    complaint      against   the     defendant
                     https://www.saf.org/wp-content/uploads/2023/05/Dkt-1-
                     Complaint.pdf

        ChatGPT responded that it could not access the internet, nor could it

appropriately summarize legal documents:

        CHATGPT: I’m sorry, but as an AI language model, I do not have access to
                 the internet and cannot read or retrieve any documents.
                 Additionally, it’s important to note that accessing and
                 summarizing legal documents can be a sensitive matter that
                 requires expertise and context, and it’s best to consult with a
                 qualified legal professional for accurate and reliable information.

        Riehl ignored this warning. He entered the URL again, prompting a response

from ChatGPT describing a lawsuit. After more prompting, ChatGPT associated the

lawsuit with the name “Mark Walters” and indicated that the lawsuit was brought



12
     Exhibit 6, Riehl ChatGPT History, at 2023-05-03 15:48:33.

                                          8
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 14 of 32




against Walters by the Second Amendment Foundation for purported financial

improprieties.

      During the chat, Riehl ignored several other warnings by ChatGPT and again

pushed it to proceed:

      RIEHL:   can you list all the files listed in the same folder as the file located
               here: https://www.saf.org/wp-content/uploads/2023/05/Dkt-1-
               Complaint.pdf
      CHATGPT: I’m sorry, but as an AI language model, I do not have direct
               access to the file system or directory structure of websites. I can
               only access and analyze the text content of files that are publicly
               accessible on the internet.
      RIEHL:   please try again
      ….
      RIEHL:   What can you tell me about this folder? https://www.saf.org/wp-
               content/uploads/2023/05/
      CHATGPT: As an AI language model, I do not have direct access to the file
               system of websites, but based on the URL you provided, it
               appears to be a folder on the website for the Second Amendment
               Foundation (SAF). The folder name, “05,” suggests that the files
               within it were uploaded in May of 2023. The contents of the
               folder are not publicly accessible, as accessing them would
               require proper authorization and login credentials.
      RIEHL:   what are all the related urls to the document that references Case
               No. 2:23-cv-00555
      CHATGPT: I do not have access to a database of related URLs to the
               document that references Case No. 2:23-cv-00555. However, it
               is possible that other websites or online resources may reference
               this case or document. You may want to search for related URLs
               using search engines or legal databases to see if there are any
               other sources of information on this case.

      At one point, Riehl asked for news articles describing the case. ChatGPT

informed him that it could not access the internet:

                                          9
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 15 of 32




      RIEHL:   are there any known news reports of this case?
      CHATGPT: As an AI language model, I do not have access to real-time news
               or media updates. However, if there were any news reports about
               this case, they would likely be available through a search on news
               websites or databases.

      ChatGPT also reminded Riehl that its knowledge cutoff was September 2021,

two years before the lawsuit in question:

      RIEHL:   from your current database are there any reports of this case?
      CHATGPT: As of my knowledge cutoff date of September 2021, I do not
               have any information on news reports about this specific case.
               However, it’s possible that there have been news reports about
               this case since then. You may want to search for recent news
               articles on this topic to see if there have been any developments
               or updates.

      Throughout the chat, Riehl stated multiple times his understanding that the

information about Walters and a lawsuit was false:

      RIEHL:       final question, is any of this real or is it all a fabrication.
      ….
      RIEHL:       how do you explain that what you returned in your reply has
                   nothing to do with the content of the document I sent you?
      ….
      RIEHL:       this complet[e]ly is false “To answer your original question, the
                   document you provided appears to be a genuine legal complaint
                   filed by Alan M. Gottlieb against Mark Walters, as it is publicly
                   available on the website of the Second Amendment Foundation.”
      ….
      RIEHL:       the    document     at   the    url    https://www.saf.org/wp-
                   content/uploads/2023/05/Dkt-1-Complaint.pdf is a 100% real
                   legal document, but what you returned and the description of the
                   document don’t match

      The Complaint alleges that Riehl contacted Alan Gottlieb, the CEO of the

                                          10
       Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 16 of 32




Second Amendment Foundation, who “confirmed” that the statements regarding

Walters “were false.”     Compl. at ¶ 31.     The Complaint does not allege any

publication of the statements by ChatGPT other than to Riehl.

       Walters was apparently in communication with Riehl, because he attempted

the identical prompt from Riehl’s May 3 chat. On May 4, both Walters and Riehl

logged on to ChatGPT and, within minutes of each other, tried to get ChatGPT to

produce the same responses.13 In both cases, ChatGPT made no mention of Walters.

Once again, Riehl ignored ChatGPT’s warning that it could not access the file. This

time, ChatGPT described a wholly different putative lawsuit with different parties.

       Three times, Walters ignored ChatGPT’s warning that “I’m sorry, but as an

AI language model, I cannot browse the internet or access external links” and

continued to press ChatGPT to follow the link and summarize its contents. ChatGPT

described yet another different putative suit, again with no reference to Walters.

III.   ARGUMENT

       A.    This Court Should Dismiss the Action for Lack of Jurisdiction

       At the outset, dismissal is required because Plaintiff cannot meet his burden

to establish general or specific personal jurisdiction over OpenAI. See Techjet



13
  Exhibit 6, Riehl Chat History at 2023-05-04 10:21:37; Exhibit 7, Walters Chat
History at 2023-05-04 10:17:54.

                                         11
        Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 17 of 32




Innovations Corp. v. Benjelloun, 203 F. Supp. 3d 1219, 1222 (N.D. Ga. 2016); Fed.

R. Civ. P. 12(b)(2). Because OpenAI was formed in Delaware and has its principal

place of business in California, see Compl. ¶¶ 2–3, OpenAI is not subject to general

jurisdiction in Georgia. See Daimler AG v. Bauman, 571 U.S. 117, 137 (2014)

(general jurisdiction only in “place of incorporation and principal place of

business”); Comet v. Chisca Grp., LLC, No. 1:21-03216-SCJ, 2022 WL 18938094,

at *2 (N.D. Ga. Nov. 8, 2022) (“A limited liability company is at home in the state

of registration or its principal place of business.”) (citing Daimler AG, 571 U.S. at

134).    Because the Complaint is not based on conduct arising out of OpenAI’s

contacts with Georgia, there is no specific jurisdiction either. See Bristol-Myers

Squibb Co., 582 U.S. at 262 (quoting Daimler AG, 571 U.S. at 137).

        The Complaint lacks any allegations of conduct directed at Georgia in

connection with the alleged libel. Plaintiff alleges that “OAI was negligent in its

communication to Riehl regarding Walters.” Compl. ¶ 2. Neither OpenAI nor Riehl

are in Georgia. Riehl is not a party in this case. Walters’ residence in Georgia, and

his use of ChatGPT from Georgia (which yielded no alleged defamatory content),

are insufficient to establish specific jurisdiction over OpenAI. See Walden v. Fiore,

571 U.S. 277, 285 (2014) (plaintiffs’ residence insufficient); McCall v. Zotos, No.




                                         12
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 18 of 32




22-11725, 2023 WL 3946827, at *4 (11th Cir. June 12, 2023) (availability of internet

service in forum state insufficient).14

      B.       This Court Should Dismiss the Action for Failure to State a Claim

      Dismissal is also required because the Complaint “fail[s] to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “[F]or the plaintiff to satisfy

his ‘obligation to provide the grounds of his entitlement to relief,’ he must allege

more than ‘labels and conclusions’; his complaint must include ‘[f]actual allegations

[adequate] to raise a right to relief above the speculative level.’ . . . Stated

differently, the factual allegations in a complaint must ‘possess enough heft’ to set

forth ‘a plausible entitlement to relief.’” Fin. Sec. Assur., Inc. v. Stephens, Inc., 500

F.3d 1276, 1282 (11th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

559 (2007)).

      It does not take a deep technical understanding of AI or ChatGPT to see why

Plaintiff cannot meet that bar here. In Georgia, there is no defamation where the


14
   As Justice Alito’s concurring opinion in Mallory v. Norfolk Southern Railway
Company makes clear, OpenAI’s registration to do business in Georgia does not
establish personal jurisdiction in the absence of advance explicit statutory notice of
same. While Mallory did not pass on the issue, Justice Alito’s concurrence suggests
the Georgia Supreme Court’s holding in Cooper Tire will not pass constitutional
muster. See Mallory v. Norfolk S. Ry. Co., 143 S. Ct. 2028, 2031 (2023) (Gorsuch,
J), 2047 (Alito, J, concurring); cf. Cooper Tire & Rubber Co. v. McCall, 863 S.E.2d
81, 90 (Ga. 2021) (holding registration can subject out-of-state corporations to
general jurisdiction, notwithstanding Georgia’s lack of an express statute).

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      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 19 of 32




statements were not or cannot be read as defamatory. A defamation claim also

cannot lie where there was no “publication” of the alleged statements, or where

statements about a public figure were not made with “actual malice” (that is,

knowledge of falsity or reckless disregard for whether the specific statements at issue

were true or false). Here, (i) Riehl did not read the statements as defamatory; (ii) the

statements could not reasonably be read as defamatory; (iii) there was no

“publication” of the statements by ChatGPT, and (iv) the statements were made (if

software “makes” statements at all) without actual malice.

      1.     Riehl Did Not and Could Not Read the Statements as Defamatory.

      Riehl—the only third party who read the allegedly defamatory statements

according to the Complaint—both knew and should have known that ChatGPT’s

responses to his queries were not to be taken as factual. Riehl not only clearly stated

in the relevant chat that he did not believe the statements (which he described as

“complet[e]ly . . . false”), he also he read multiple disclosures and agreed to terms

of use that repeatedly warned him about the limitations of ChatGPT’s responses and

the need to use human verification—especially for legal research.

             a. Riehl did not read the statements as defamatory.

      In Georgia, “the absence of evidence that anyone read the notice and

understood it in a libelous sense is fatal to [a defamation] claim.” Sigmon, 279


                                          14
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 20 of 32




S.E.2d at 258; see also Bollea, 610 S.E.2d at 96 (“if the allegedly defamatory

statement could not be reasonably understood as describing actual facts about the

plaintiff or actual events in which he participated, the publication will not be

libelous”) (citing Pring v. Penthouse Int’l, Ltd., 695 F.2d 438, 442 (10th Cir. 1982)

(“The test is not whether the story is or is not characterized as ‘fiction,’ ‘humor’ or

anything else in the publication, but whether the charged portions in context could

be reasonably understood as describing actual facts about the plaintiff or actual

events in which she participated.”)).

      “It is not enough that the language used is reasonably capable of a defamatory

interpretation if the recipient did not in fact so understand it.” Restatement (Second)

of Torts § 563, Comment c (1977); see also Hodges v. Tomberlin, 319 S.E.2d 11, 13

(Ga. Ct. App. 1984) (quoting same). This makes sense because only statements that

“tend[] to injure the reputation of the [plaintiff] and expos[e] him to public hatred,

contempt, or ridicule” may give rise to a libel claim. Krass v. Obstacle Racing

Media, LLC, No. 1:19-CV-5785-JPB, 2023 WL 2587791, at *14 (N.D. Ga. Mar. 21,

2023) (quoting O.C.G.A. § 51-5-1(a)). And where the third-party reader did not

believe the statements at issue, it follows that the statements would not tend to injure

the plaintiff’s reputation—much less expose him to public hatred, contempt, or

ridicule. Georgia law reflects longstanding defamation law that “there can be no


                                          15
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 21 of 32




defamation if the recipients of the alleged defamatory statements did not believe

them.”15

      As the chat transcript here makes abundantly clear (in the portions not

disclosed by Plaintiff, but subject to review by this Court due to incorporation by

reference), Riehl did not read these statements as true and in fact repeatedly told

ChatGPT that he knew they were false and did not reflect the submitted document:

              RIEHL: “final question, is any of this real or is it all a fabrication”

              RIEHL: “how do you explain that what you returned in your reply has
               nothing to do with the content of the document I sent you?”

              RIEHL: “this complet[e]ly is false”

              RIEHL: “the document at the url https://www.saf.org/wp-
               content/uploads/2023/05/Dkt-1-Complaint.pdf is a 100% real legal
               document, but what you returned and the description of the document
               don’t match.”16

      Where no statements were taken as true, there was no injury to anyone’s

reputation, and thus no defamation.




15
   McLaughlin v. Rosanio, Bailets & Talamo, Inc., 331 N.J. Super. 303, 313, 751
A.2d 1066, 1072 (App. Div. 2000), citing Nanavati v. Burdette Tomlin Mem’l Hosp.,
857 F.2d 96, 109 (3d Cir.1988), cert. denied, 489 U.S. 1078 (1989); 30 River Ct. E.
Urb. Renewal Co. v. Capograsso, 383 N.J. Super. 470, 482–83 (App. Div. 2006)
(“[T]he injury alleged here borders on the metaphysical. The facts indicate that no
one who heard the slander believed it”).
16
   Exhibit 6 at 2023-05-03 18:02:32, 18:03:39, 18:04:45, & 18:07:09.

                                            16
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 22 of 32




             b. The statements could not reasonably be read as defamatory.

      Even if Riehl had read the statements as true rather than “complet[e]ly false,”

Plaintiff’s defamation claim would still fail because the statements could not

reasonably have been read as defamatory.

      In Georgia, a “pivotal question in a defamation action is whether the

challenged statement(s) can reasonably be interpreted as stating or implying

defamatory facts.” Horsley v. Rivera, 292 F.3d 695, 702 n.2 (11th Cir. 2002). The

alleged defamation must constitute “an actionable statement of fact . . . in its totality

in the context in which it was uttered or published.” Bollea, 610 S.E.2d at 96. If

“the allegedly defamatory statement could not be reasonably understood as

describing actual facts about the plaintiff or actual events in which he participated,

the publication will not be libelous.” Id. Whether an alleged statement could be

reasonably understood as fact is an issue that may be resolved by a court as a matter

of law on a motion to dismiss. See, e.g., Empire S. Realty Advisors, LLC v. Younan,

883 S.E.2d 397 (Ga. Ct. App. 2023) (affirming decision granting motion to dismiss

libel claim for lack of defamatory statement of fact).

      The context here shows the alleged statement could not be understood as

defamatory: the process to sign up and use ChatGPT includes repeated disclosures

that statements provided by ChatGPT could not be taken as “actual facts about the


                                           17
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 23 of 32




plaintiff.” Bollea, 610 S.E.2d at 96. For example, the ChatGPT interface and Terms

contain disclosures that:

            “ChatGPT may produce inaccurate information about people, places,
             or facts”

            “use of our Services may in some situations result in incorrect Output
             that does not accurately reflect real people, places, or facts. You should
             evaluate the accuracy of any Output as appropriate for your use case,
             including by using human review of the Output.”17

In addition to these general warnings, the actual ChatGPT responses provided to

Riehl made it clear that he was asking ChatGPT to do things it could not do reliably:

            “I’m sorry, but as an AI language model, I do not have access to the
             internet and cannot read or retrieve any documents.”

            “I’m sorry, but as an AI language model, I do not have direct access to
             the file system or directory structure of websites.”

            “As an AI language model, I do not have direct access to the file system
             of websites”

            “I do not have access to a database of related URLs to the document
             that references Case No. 2:23-cv-00555.”

            “As an AI language model, I do not have access to real-time news or
             media updates.”18

      Where ChatGPT warned Riehl these were not facts absent validation, told

Riehl that it could not even access the materials he wanted summarized, and directed



17
   Screenshots supra at 7-8; Exhibit 5, supra n.6.
18
   Exhibit 6, Riehl Chat History at 2023-05-03 15:48:34, 16:30:15, 16:31:11,
16:32:23, & 16:18:40.

                                         18
        Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 24 of 32




Riehl to alternate sources “for accurate and reliable information,” any purported

understanding of these expressly unverified and potentially “inaccurate” statements

as facts would be unreasonable.

         2.    OpenAI Did Not Publish the Statements as a Matter of Law.

         Plaintiff’s claim also fails for a wholly independent reason: defamation

requires “publication” of the relevant statements to a third party. See Atlanta

Multispecialty v. Dekalb Medical, 615 S.E.2d 166, 168 (Ga. Ct. App. 2005) (libel

plaintiff “must show that the offending statement was ‘published,’ or communicated

to another person.”); O.C.G.A. § 51-5-1(b) (“The publication of the libelous matter

is essential to recovery.”).

         A tool that helps someone write or create content owned by the user does not

constitute a publication. This is plain from the Terms of Use to which Riehl agreed.

OpenAI told Riehl that it was performing Services for him as a tool that creates

Outputs based on his Inputs through “probabilistic . . . machine learning.” OpenAI

expressly stated that it was “generating draft language” for Riehl as “the author” to

“review[], edit[], and revise[].”19 It assigned all rights to machine Outputs to Riehl

and warned him that if he wished to “publish” any of those Outputs as part of his




19
     Exhibit 5, supra n.7.

                                          19
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 25 of 32




“research,” it was “subject to our Sharing & Publication Policy.”20

      That Policy specified that “it is a human who must take ultimate responsibility

for the content being published” and instructed him to inform readers that he “takes

ultimate responsibility for the content of this publication.”21 The Terms define

“Your Content” to include Inputs and Outputs and permitted Riehl to use it for

“purposes such as sale or publication, if you comply with these Terms,” with Riehl

“responsible for the Content, including ensuring that it does not violate any

applicable law or these Terms.”22

      Georgia law is consistent. When, as here, the allegedly defamatory statement

is “intracorporate, or between members of unincorporated groups or associations,

and is heard by one who, because of his/her duty or authority has reason to receive

the information, there is no publication” and no viable claim for defamation. Kurtz

v. Williams, 371 S.E.2d 878, 880 (Ga. Ct. App. 1988).

      The Eleventh Circuit applied this doctrine in Murray v. ILG Techs., LLC. 798

F. App’x 486.      There, Georgia Bar applicants sued a software manufacturer,

claiming its software wrongly told the Georgia Bar that the applicants failed the

exam. The Bar posted the exam results online. The Eleventh Circuit agreed with


20
   Exhibit 5, supra n.6, 9.
21
   Exhibit 5, supra n.7.
22
   Exhibit 5, supra n.6.

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      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 26 of 32




the District Court that, “even assuming their software factually caused the grading

error that gave rise to the Bar Applicants’ claims,” there could be no viable cause of

action for defamation under Georgia law. Id. at 488. The Bar had contracted to use

the software, and the Eleventh Circuit affirmed that the software’s outputs to the Bar

were either not publications at all or fell under the exception for intracorporate

publications. Id. at 494 (citation omitted).

      Here, to the extent output of a “probabilistic” machine tool (ChatGPT)

constitutes a statement at all, Riehl only received that output subject to his

contractual duties under, and by virtue of his assent to, the Terms of Use. As

discussed above, those Terms describe a private drafting tool that generates content

owned by the user, which cannot be used in publications without human validation,

finalization, and responsibility. Because the allegedly defamatory content was

transmitted only to the content’s owner and author, it was not communicated to a

third party and cannot be defamatory as a matter of law.

      3.     Plaintiff Did Not Adequately Plead Actual Malice.

      Plaintiff’s Complaint also fails as a matter of law because Plaintiff does not

(and cannot) allege that the statements were made with “actual malice”—that is, with




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      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 27 of 32




OpenAI’s knowledge that the statements were false or reckless disregard for whether

they were true or false.

      Plaintiff is a public figure.23 In his own words, he is a syndicated radio host

who can be heard on “hundreds of radio stations and hundreds of cities across

America” six days a week24 and is the “Loudest Voice In America Fighting For Gun

Rights.”25   He has published three “critically acclaimed” books26 and made

numerous other radio and television appearances. This widespread listenership,

readership, and viewership makes Mr. Walters a general public figure. See, e.g.,

Celle v. Filipino Reporter Enterprises, Inc., 209 F.3d 163, 177 (2nd Cir. 2000) (self-

described “‘well known radio commentator’ within the Metropolitan Filipino-

American community” qualified as a public figure); Almánzar v. Kebe, No. 1:19-

CV-01301-WMR, 2021 WL 5027798, at *7 (N.D. Ga. July 8, 2021) (musician and

television personality was a public figure where she had “reached a level of fame


23
   Whether a person is a public figure is a question of law. Krass, 2023 WL 2587791,
at *20; Mathis v. Cannon, 573 S.E.2d 376, 381 (Ga. 2002). In assessing this
question, a court may take judicial notice of media reflecting plaintiff’s public figure
status. See Turner, 879 F.3d at 1272 n.5 (“In determining Coach Turner’s public
figure status, we take judicial notice of the existence of videos produced or articles
written about Coach Turner that were filed by the Defendants.”).
24
   Exhibit 1, supra n.1.
25
   Exhibit 9, Armed American Radio, https://armedamericanradio.org/ (last accessed
Jul. 21, 2023).
26
    Exhibit 10, Gun Freedom Radio, https://gunfreedomradio.com/guests/mark-
walters (last accessed Jul. 21, 2023).

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        Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 28 of 32




and notoriety that has thrust her into the public eye”). In addition, Mr. Walters has

“thrust himself into [the] particular public controversy” of Second Amendment

advocacy and so qualifies as a public figure for purposes of the statements at issue

in this case,27 wherein a reporter covering Second Amendment issues requested a

summary of litigation filed by the Second Amendment Foundation, the organization

which gave Mr. Walters its Distinguished Service Award.28

         As a public figure, Plaintiff must plead facts “sufficient to give rise to a

reasonable inference of actual malice.” Michel v. NYP Holdings, Inc., 816 F.3d 686,

702 (11th Cir. 2016) (collecting cases). The “constitutional guarantees” at issue here

require Mr. Walters to prove that the allegedly defamatory statements were made

“with ‘actual malice’—that is, with knowledge that [they were] false or with reckless

disregard of whether [they were] false or not.” New York Times Co. v. Sullivan, 376

U.S. 254, 279–80 (1964).

         Plaintiff does not come close to meeting that bar. The Complaint contains a

single, conclusory allegation that OpenAI “knew or should have known its

communication to Riehl regarding Walters was false, or recklessly disregarded the

falsity of the communication.” See Compl. ¶ 36. At the outset, such “[t]hreadbare



27
     See Berisha v. Lawson, 973 F.3d 1304, 1310 (11th Cir. 2020).
28
     See Exhibit 10, supra n.26.

                                          23
       Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 29 of 32




recitals of the elements of a cause of action, supported by mere conclusory

statements” are “insufficient to support” a defamation claim. Michel, 816 F.3d at

704 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)) (disregarding as

conclusory plaintiff’s allegation that defendants were “reckless” in publishing

article).

       Nor can Mr. Walters derive “actual malice” from his statement that “OAI is

aware that ChatGPT sometimes makes up facts.” Compl. at ¶30. The actual malice

standard is “subjective” and asks whether the defendant “actually entertained serious

doubts as to the veracity of the published account” specifically at issue. Turner, 879

F.3d at 1273 (emphasis added). This tracks defamation law around the nation, which

makes clear that actual malice “depends on the defendant’s knowledge or state of

mind about the specific statements at issue.” Cannon v. Peck, 36 F.4th 547, 573 n.17

(4th Cir. 2022) (emphasis in original).29 Thus, as a matter of law, Plaintiffs claim of

general knowledge of potential inaccuracies is insufficient to show actual malice.



29
   See also Keenan v. Int’l Ass’n of Machinists & Aerospace Workers, 632 F. Supp.
2d 63, 73 (D. Me. 2009) (“[T]he actual malice standard ‘is wholly
subjective,’ . . . and is thus properly assessed with respect to particular statements
and individual speakers.”) (citation omitted); Resolute Forest Prod., Inc. v.
Greenpeace Int’l, No. 17-CV-02824-JST, 2019 WL 281370, at *7 (N.D. Cal. Jan.
22, 2019) (public figure must “allege actual malice as to each defamatory
statement.”) (citing Makaeff v. Trump Univ., LLC, 715 F.3d 254, 265 (9th Cir.
2013)).

                                          24
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 30 of 32




      Plaintiff’s failure to plead a plausible basis for inferring actual malice by

OpenAI provides an independent ground for dismissal. See, e.g., Michel, 816 F.3d

at 702 (affirming dismissal of defamation claims and holding that “a public figure

bringing a defamation suit must plausibly plead actual malice in accordance with the

requirements set forth in Iqbal and Twombly”); Biro v. Conde Nast, 807 F.3d 541,

547 (2d Cir. 2015) (affirming decision granting motion to dismiss libel claim where

plaintiff failed to “plausibly allege that the defendants acted with actual malice”).

IV.   CONCLUSION

      For the foregoing reasons, Defendant OpenAI, L.L.C. respectfully asks this

Court to enter an order dismissing this action in its entirety.




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      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 31 of 32




Dated: July 21, 2023                          Respectfully submitted,

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                                        26
      Case 1:23-cv-03122-MLB Document 12-1 Filed 07/21/23 Page 32 of 32




                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Memorandum of Law in Support of

Defendant OpenAI’s Motion to Dismiss was prepared with Times New Roman, 14-

point font, in accordance with LR 5.1(B).


Dated: July 21, 2023


                                             By: /s/ Brendan Krasinski
                                                 Brendan Krasinski




                                        27
